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     In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: August 6, 2018

* * * * * * *                   *   *    *    *   * *
SHELLY PLESCIA,                                     *                    UNPUBLISHED
                                                    *
                  Petitioner,                       *                    No. 15-1472V
                                                    *
v.                                                  *                    Special Master Gowen
                                                    *
SECRETARY OF HEALTH                                 *                    Joint Stipulation; Influenza (“Flu”);
AND HUMAN SERVICES,                                 *                    Guillain-Barre Syndrome (“GBS”).
                                                    *
                  Respondent.                       *
*    * * *        * * * *           *    *    *   * *

Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Amy Paula Kokot, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On December 4, 2016, Shelly Plescia (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 Petitioner filed an amended
petition on October 1, 2014, which alleged that she suffered from a left-shoulder injury as a
result of an influenza vaccine administered on or about October 10, 2014. Amended Petition at
Preamble; Stipulation at ¶ 4.

        On August 6, 2018, the parties filed a joint stipulation (“Stipulation”) in which they
stated that a decision should be entered awarding compensation to petitioner. ECF No. 51.
Respondent denies that the flu vaccine administered on or about October 10, 2014, is the cause


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this decision contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the decision
is posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed
redacted version of the decision.” Id. If neither party files a motion for redaction within 14 days, the decision
will be posted on the court’s website without any changes. Id.

2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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of petitioner’s alleged left-shoulder injury and/or any other injury or her current condition. Id. at
¶ 6.

        Maintaining their above-stated positions, the parties nevertheless now agree that the
issues between them shall be settled and that a decision should be entered awarding
compensation to petitioner according to the terms of the joint stipulation attached hereto as
Appendix A.

         The joint stipulation awards:

         1) A lump sum of $40,000.00 in the form of a check payable to petitioner. This
            amount represents compensation for all damages that would be available under
            42 U.S.C. § 300aa-15(a).

      I find the stipulation reasonable and I adopt it as the decision of the Court in
awarding damages, on the terms set forth therein.

        Accordingly, the Clerk of the Court SHALL ENTER JUDGMENT in accordance with
the terms of the parties’ stipulation.3

         IT IS SO ORDERED.

                                                                s/Thomas L. Gowen
                                                                Thomas L. Gowen
                                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice renouncing the
right to seek review.

                                                           2
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